                            Case 18-11780-BLS              Doc 82       Filed 08/06/18        Page 1 of 8



                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

         In re:                                                         Chapter 11

         BROOKSTONE HOLDINGS CORP., et al.,1                            Case No. 18-11780 (BLS)

                                     Debtors.                           (Jointly Administered)


                    NOTICE OF FILING OF AMENDED LIST OF CREDITORS WHO HAVE
                     THE 30 LARGEST UNSECURED CLAIMS AND ARE NOT INSIDERS

                 PLEASE TAKE NOTICE THAT, on August 2, 2018 (the “Petition Date”), Brookstone
         Holdings Corp. and its above-captioned affiliated debtors and debtors in possession (collectively,
         the “Debtors”) commenced these chapter 11 cases. On the Petition Date, the Debtors filed their
         List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (the “Top 30
         List”).

                 PLEASE TAKE FURTHER NOTICE THAT attached hereto as Exhibit 1 is an
         amended Top 30 List (the “Amended Top 30 List”). The Top 30 List has been amended solely
         to update the addresses for certain of the previously listed creditors.2 For the avoidance of doubt,
         (i) other than the aforementioned address updates, there have been no other changes from the
         Top 30 List to the Amended Top 30 List, and (ii) the creditors listed on the Top 30 List received
         notice of the commencement of these Chapter 11 Cases and First Day Hearing at the appropriate
         addresses.


                                                     [Signature Page Follows]




         1
             The Debtors, along with the last four digits of each Debtor’s tax identification number, are: Brookstone Holdings
             Corp. (4638), Brookstone, Inc. (2895), Brookstone Company, Inc. (3478), Brookstone Retail Puerto Rico, Inc.
             (5552), Brookstone International Holdings, Inc. (8382), Brookstone Purchasing, Inc. (2514), Brookstone Stores,
             Inc. (2513), Big Blue Audio LLC (N/A), Brookstone Holdings, Inc. (2515); and, Brookstone Properties, Inc.
             (2517). The Debtors’ corporate headquarters and the mailing address for each Debtor is One Innovation Way,
             Merrimack, NH 03054.
         2
             The addresses have been updated for the following creditors: Sz Telstar Co, Ltd, Asia Combine Co., Ltd,
             Shenzhen Cham Battery Techno, Shenzhen Forrest Health, Qbe Insurance Corporation, Pilot Air Freight Corp,
             Acctron Company Limited, Jiangsu Cross-Border, Taishin Electronic Co Ltd, and Health Care Co Ltd.
01:23480739.1
                                                                    1
                      Case 18-11780-BLS   Doc 82      Filed 08/06/18   Page 2 of 8




         Dated:   Wilmington, Delaware
                  August 6, 2018          /s/ Andrew L. Magaziner
                                          YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                          Michael R. Nestor (No. 3526)
                                          Sean M. Beach (No. 4070)
                                          Andrew L. Magaziner (No. 5426)
                                          Rodney Square
                                          1000 North King Street
                                          Wilmington, Delaware 19801
                                          Tel: (302) 571-6600
                                          Fax: (302) 571-1253
                                          Email: mnestor@ycst.com
                                                  sbeach@ycst.com
                                                  amagaziner@ycst.com

                                          -and-

                                          GIBSON, DUNN & CRUTCHER LLP
                                          Matthew J. Williams
                                          David M. Feldman
                                          Matthew K. Kelsey
                                          Keith R. Martorana
                                          Jason Zachary Goldstein
                                          200 Park Avenue
                                          New York, New York 10166
                                          Tel: (212) 351-4000
                                          Fax: (212) 351-4035
                                          Email: mjwilliams@gibsondunn.com
                                                 dfeldman@gibsondunn.com
                                                 mkelsey@gibsondunn.com
                                                 kmartorana@gibsondunn.com
                                                 jgoldstein@gibsondunn.com

                                          Proposed Counsel to the Debtors and Debtors in
                                          Possession




01:23480739.1
                                                  2
                Case 18-11780-BLS   Doc 82   Filed 08/06/18   Page 3 of 8



                                     EXHIBIT 1

                                Amended Top 30 List




01:23480739.1
                                         3
                                     Case 18-11780-BLS                   Doc 82     Filed 08/06/18                 Page 4 of 8

Debtor name Brookstone Holdings Corp.

UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE
Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                    12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

Name of creditor and complete                                                      Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                claim is
mailing address, including zip              email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                              (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                   trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                   loans,                               deduction for value of collateral or setoff to
                                                                                   professional                         calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                                                       Total Claim, if   Deduction        Unsecured claim
                                                                                   contracts)
                                                                                                                       partially         for value of
                                                                                                                       secured           collateral or
                                                                                                                                         setoff


1   Ssg-Shenzhen Yuan Chuang                Ssg-Shenzhen Yuan Chuang               Merch                                                                        $39,399,679.50
    Int'L Trading Company Ltd               Tel: 86-755-2970-1598
    Guangdong Province, 518101              Email: simonfung@sanpowergroup.com
    China




2   Sz Telstar Co, Ltd                      Sz Telstar Co, Ltd                     Merch                                                                           $827,156.78
    Telstar Technology Park No.             Tel: 952-239-9241
    12&14, Longteng Industrial Zone,        Fax: 0755-89567502
    Ailian, Longgang District               Email:
    Shenzhen, Guangdong Province,           rezaaghelnejad@comtechsales.com
    China, 518172


3   Simon Property Group, Inc.              Simon Property Group, Inc.             Rent                                                                            $779,146.19
    225 West Washington Street              Tel: 317-263-7742
    Indianapolis, IN 46204                  Email: Erica.Mace@simon.com




4   After Shokz LLC                         After Shokz LLC                        Merch                                                                           $473,952.00
    6057 Corporate Drive                    Tel: 315 657 1295
    East Syracuse, NY 13057                 Email: bill@aftershokz.com




5   Asia Combine Co., Ltd                   Asia Combine Co., Ltd                  Merch                                                                           $453,019.53
    11 Fl, No 218, Sec 4;                   Tel: 714-851-0688 / 86 130 2881 5373
    Chung Hsiao East Road                   Email: asiacomb@icloud.com /
    Taipei                                  gchen@asiacomb.com.cn
     Taiwan, Roc




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                               Page 1
                                       Case 18-11780-BLS                 Doc 82    Filed 08/06/18                 Page 5 of 8


Debtor name Brookstone Holdings Corp.                                                                    Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                     Nature of the       Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                              claim is
mailing address, including zip               email address of creditor contact    claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                             (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                  trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                  loans,                               deduction for value of collateral or setoff to
                                                                                  professional                         calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                      Total Claim, if   Deduction        Unsecured claim
                                                                                  contracts)
                                                                                                                      partially         for value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff


6   GGP                                      GGP                                  Rent                                                                            $441,568.24
    350 North Orleans                        Tel: 312-960-5401
    Suite 300                                Email: Nancy.Bernero@ggp.com
    Chicago, IL 60654-1607




7   Emerge Technologies, Inc.                Emerge Technologies, Inc.            Merch                                                                           $331,344.00
    Dept. 3779                               Tel: 508-277-9330
    Dallas, TX 75312 3779                    Email: jay@dedicatedsales.com




8   Axent Wear, Inc                          Axent Wear, Inc                      Expense                                                                         $309,317.32
    21515 Hawthorne Blvd                     Email: victoriahu.rm@gmail.com
    Torrance, CA 90503




9   Shenzhen Cham Battery Techno             Shenzhen Cham Battery Techno         Merch                                                                           $296,461.20
    B-3 Building, Gaoxinjian                 Tel: 86 136 5035 6890
    Industrial Park, He Ping,                Email: sammy@powerocks.com
    Fuyong Town
    Shenzhen, Guangdong Province,
    China, 518103

10 Shenzhen Forrest Health                   Shenzhen Forrest Health              Merch                                                                           $277,072.02
   Building 2A, No 48 228 Industrial         Tel: 86 755 2518 5991
   Area, Henggang Street,                    Email: Pan@forrestmassager.com
   Longgang District, Shenzhen
   Guangdong Province, China


11 Qbe Ins ur ance Corpo ration              Qbe Insurance Corporation            Expense                                                                         $239,846.92
   Attn: Lynn Grunst                         Tel: 608-837-4440
   1 Qbe Way                                 Fax: 608-837-0583
   Sun Prairie, WI 53596



12 Pilot Air Freight Corp                    Pilot Air Freight Corp               Expense                                                                         $218,557.17
   P.O. Box 654058                           Tel: 484-234-4375
   Dallas, TX 75265-4058




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                             Page 2
                                    Case 18-11780-BLS                   Doc 82    Filed 08/06/18                 Page 6 of 8


Debtor name Brookstone Holdings Corp.                                                                   Case No. (If known)

                                                                   (Continuation Sheet)

Name of creditor and complete                                                    Nature of the       Indicate if      Amount of unsecured claim
                                          Name, telephone number, and                                claim is
mailing address, including zip            email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                            (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                 trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                 loans,                               deduction for value of collateral or setoff to
                                                                                 professional                         calculate unsecured claim.
                                                                                 services, and
                                                                                 government
                                                                                                                     Total Claim, if   Deduction        Unsecured claim
                                                                                 contracts)
                                                                                                                     partially         for value of
                                                                                                                     secured           collateral or
                                                                                                                                       setoff


13 Cozzia Usa LLC                         Cozzia Usa LLC                         Merch                                                                           $201,519.00
   861 S. Oak Park Road                   Tel: 410-271-0923
   Covina, CA 91724                       Email: JohnC@cozziausa.com




14 Taubman-Cherry Creek Lp                Taubman-Cherry Creek Lp                Rent                                                                            $193,986.34
   P.O. Box 67000                         Tel: 248-258-7562
   Detroit, MI 48267-0898                 Email: Jsanders@Taubman.com




15 Demandware Inc                         Demandware Inc                         Expense                                                                         $192,033.84
   5 Wall Street                          Tel: 978-430-7565
   Burlington, MA 01803                   Email: Tpetzold@salesforce.com




16 Westfield Concession Management        Westfield Concession Management        Rent                                                                            $191,896.18
   Attn: Judy Tuttle, VP                  Tel: 310-689-5623
   2730 University Boulevard West 900     Email: Cbuenaventura@westfield.com
   Wheaton, MD 20902



17 Federal Express                        Federal Express                        Expense                                                                         $186,127.47
   P.O. Box 371461                        Tel: 855-552-5393 Ext 3078
   Pittsburgh, PA 15250-7461              Email: ccjeffries@fedex.com




18 The Bernard Group                      The Bernard Group                      Expense                                                                         $185,254.16
   19011 Lake Drive East                  Tel: 952-934-1900
   Chanhassen, MN 55317




19 Scosche                                Scosche                                Merch                                                                           $184,852.60
   1550 Pacific Ave                       Tel: 805 486 4450
   Oxnard, CA 93034                       Email: tylerd@scosche.com




 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                               Page 3
                                       Case 18-11780-BLS                     Doc 82    Filed 08/06/18                 Page 7 of 8


Debtor name Brookstone Holdings Corp.                                                                        Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                         Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                   claim is
mailing address, including zip              email address of creditor contact         claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                 (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                      trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                      loans,                               deduction for value of collateral or setoff to
                                                                                      professional                         calculate unsecured claim.
                                                                                      services, and
                                                                                      government
                                                                                                                          Total Claim, if   Deduction        Unsecured claim
                                                                                      contracts)
                                                                                                                          partially         for value of
                                                                                                                          secured           collateral or
                                                                                                                                            setoff


20 Grantec Zhangzhou Co. Ltd                Grantec Zhangzhou Co. Ltd                 Merch                                                                           $184,394.80
   14F B04 Bldg Software Par                Tel: 0592-6296673
   Fujian,                                  Fax: 0592-6296663
   China                                    Email: lee@grantec.com.cn



21 Session M, Inc.                          Session M, Inc.                           Expense                                                                         $182,250.00
   2 Seaport Lane                           Tel: 888-226-9756
   Boston, MA 02210




22 Macerich                                 Macerich                                  Rent                                                                            $180,072.16
   401 Wilshire Boulevard, Suite 700        Tel: 602-953-6328
   Santa Monica, CA 90401                   Email: Tamara.Ortega@macerich.com




23 Boston Retail Partners, LLC              Boston Retail Partners, LLC               Expense                                                                         $179,187.77
   P.O. Box 2252                            Tel: 781‐858‐1086
   Birmingham, AL 35246-1058                Email: sjoyce@bostonretailpartners.com




24 Acctron Company Limited                  Acctron Company Limited                   Merch                                                                           $177,766.88
   Workshop 11, 6/F., Block C,              Email: desmond@acctron.net.cn
   Delya, Industrial Centre
   7 Shek Pai Tau Road
   Tuen Mun, N.T. Hong Kong



25 Jiangsu Cross-Border                     Jiangsu Cross-Border                      Merch                                                                           $168,840.00
   No.10 Maqun Street,                      Tel: 86-025-84356754
   Qixia District, Nanjing                  Fax: 86-025-84356508
   Jiangsu Province,
   China 210049


26 Aon Risk Services Northeast, I           Aon Risk Services Northeast, I            Expense                                                                         $167,857.50
   P.O. Box 7247-7376                       Tel: 617-482-3100
   Philadelphia, PA 19170-7376              Fax: 617-542-2597




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                  Page 4
                                      Case 18-11780-BLS               Doc 82     Filed 08/06/18                 Page 8 of 8


Debtor name Brookstone Holdings Corp.                                                                  Case No. (If known)

                                                                  (Continuation Sheet)

Name of creditor and complete                                                   Nature of the       Indicate if      Amount of unsecured claim
                                          Name, telephone number, and                               claim is
mailing address, including zip            email address of creditor contact     claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                           (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                loans,                               deduction for value of collateral or setoff to
                                                                                professional                         calculate unsecured claim.
                                                                                services, and
                                                                                government
                                                                                                                    Total Claim, if   Deduction        Unsecured claim
                                                                                contracts)
                                                                                                                    partially         for value of
                                                                                                                    secured           collateral or
                                                                                                                                      setoff


27 Samsonite LLC                          Samsonite LLC                         Merch                                                                           $163,022.28
   Dept Ch 19296                          Tel: 415-922-1959
   Palatine, IL 60055-9296                Fax: 415-922-8659
                                          Email: Linda.Doty@Samsonite.com



28 Little Upstarts, Inc.                  Little Upstarts, Inc.                 Merch                                                                           $159,587.56
   2589 Sandhurst Drive                   Tel: 781-974-6863
   Lewis Center, OH 43035                 Email: jene@jemasales.com




29 Taishin Electronic Co Ltd              Taishin Electronic Co Ltd             Merch                                                                           $140,386.40
   Liaobuliangbian Industrial Zone,       Email: sherryhuang@chinataishin.com
   No.140, Liaocha Road,
   Liaobu Town, Dongguan
   Guangdong Province,
   China, 523000

30 Health Care Co Ltd                     Health Care Co Ltd                    Merch                                                                           $137,156.12
   No 999 Gaonan Road
   Dingyan Rugao City
   Jiangsu Province,
   China 226521




 Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                               Page 5
